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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE



------------------------------------------------------)
In re                                                 )   Chapter 11
                                                      )
W. R. GRACE & CO., et al.,                            )   Case No. 01-01139 (JKF)
                                                      )   (Jointly Administered)
                                                      )
                                  Debtors.            )   Hearing Date: July 22, 2002 at 10:00 a.m.
                                                      )   Objection Deadline: July 8, 2002 at 4:00 p.m.
------------------------------------------------------)



        THE OFFICIAL COMMITTEE OF ASBESTOS PROPERTY DAMAGE
    CLAIMANTS’ RESPONSE AND MOTION PURSUANT TO SECTION 503 OF THE
             BANKRUPTCY CODE TO RETAIN SPECIAL COUNSEL
      FOR THE PURPOSE OF DEFENDING OBJECTIONS TO ZONOLITE ATTIC
                     INSULATION PROOFS OF CLAIM

TO:               THE HONORABLE JUDITH K. FITZGERALD,
                  UNITED STATES BANKRUPTCY JUDGE:

         The Official Committee of Asbestos Property Damage Claimants (the "PD Committee")

of the above-captioned debtors and debtors in possession (the "Debtors"), by and through

undersigned counsel, respectfully files this response and motion (the “Motion”) seeking entry of

an order pursuant to section 503 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the "Bankruptcy Code") authorizing the retention of special counsel (“Special Counsel”) for

purposes of defending objections to Zonolite Attic Insulation (“ZAI”) proofs of claim.                    In

support of the Motion, the PD Committee represents as follows.

                                         INTRODUCTION

        1.        On April 2, 2001 (the "Petition Date"), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively, the "Chapter 11 Cases"). On the

Petition Date, the Court entered an order of joint administration pursuant to Rule 1015(b) of the

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Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) providing for the joint

administration of these cases and for their consolidation for procedural purposes only. Pursuant

to 11 U.S.C. §§ 1107(a) and 1108, the Debtors continue to operate their businesses and manage

their properties as debtors in possession.

        2.        On April 12, 2001, the United States Trustee appointed the PD Committee. At

the PD Committee’s original organizational meeting, it selected Bilzin Sumberg Dunn Baena

Price & Axelrod LLP (“Bilzin”) as its bankruptcy counsel.

        3.        This Court has jurisdiction over these cases pursuant to 28 U.S.C. §§ 157 and

1334 and this matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before

this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.        On or about April 22, 2002, pursuant to section 501(c) and Bankruptcy Rule

3003, the Debtors filed proofs of claim on behalf of ten Zonolite Attic Insulation claimants (the

“ZAI Claimants”)1 with the intent of commencing a contested claims process with respect to

such claimants.

        5.        Thereafter, on or about May 10, 2002, counsel for certain of the ZAI Claimants2

filed a Motion to Strike Proofs of Claim and Response to Debtors’ Proposed Order Setting Initial

Schedule for Litigation Concerning Zonolite Attic Insulation Product Risk (the “Motion to

Strike”).

        6.        At the May 20, 2002 omnibus hearing, the Court denied the Motion to Strike

without prejudice to the ZAI Claimants “amending them [the proofs of claim filed by the

Debtors], substituting them, to refilling them …”. See May 20, 2002 Trans. at 93, lines 20-24.3


1
  As set forth in the Debtors' Notice of ZAI Claim of Filings and of Hearing, the Debtors filed proofs of claim on
behalf of Marco Barbanti, Ralph Busch, William Pat Harris, Jan Hunter, Edward M. Lindholm, John Sufnarowski,
James and Doris McMurchie, John and Margery Prebil and Paul Price, Stephen B. Walsh.
2
   Counsel for Marco Barbanti, Ralph Busch, John and Margery Prebill, and Paul Price.
3
   The relevant portions of the May 20, 2002 Transcript are attached hereto as Exhibit “A”.
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To the knowledge of the PD Committee, as of the date of this Motion, John and Margery Prebil,

Paul Price, Marco Barbanti and Ralph Busch filed amended proofs of claim on or about May 30,

2002.

        7.        Further, at the May 20, 2002 hearing, the Court ruled that the Debtors' estates

would be responsible for the fees and expenses of counsel for the ZAI Claimants in defending

the objections to the ZAI proofs of claim. See May 20, 2002 Trans., at 70, lines 3-6. The Court

directed the PD Committee to either (a) inform the Court that Bilzin would be counsel to the ZAI

Claimants in defense of the Debtors’ objections to their proofs of claim or (b) submit an

application to retain Special Counsel. Id. at 105, lines 3-6; Id. at 68, lines 9-13.

        8.        The Court, having determined the necessity of determining the “science” of ZAI

prior to moving forward with a determination on class certification, bar date and notice programs

issues with respect to ZAI claims, ruled that if the PD Committee engaged Special Counsel to

ZAI Claimants for purposes of defending objections to the ZAI Claimants’ proof of claims, such

counsel would be entitled to an administrative claim under section 503 of the Bankruptcy Code

for benefiting the Debtors’ estates. Id. at 68, lines 14-18.

        9.        The PD Committee (and its counsel), which was formed under section 1103 of the

Bankruptcy Code, is unable to represent the interests of individual claimants.               As an 1103

committee, the PD Committee is charged with representing the interests of asbestos property

damage claimants (“PD Claimants”) generally, and thus, has a fiduciary duty to all PD Claimants

and the Court. See In re Mesta Machine Co., 67 B.R. 151, 157 (W.D. Pa. 1986). Conversely,

counsel to any particular claimant owes a duty only to that claimant. However, given the Court’s

alternative that the PD Committee act as “gatekeeper” in facilitating the ZAI “science” trial, the

PD Committee has designated the Special Counsel set forth below to serve as counsel to the ZAI


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Claimants in the ZAI “science” trial, expressly without waiving the substantive rights of any

single claimant that does not participate in the trial.

         10.      Accordingly, the PD Committee hereby submits this motion to retain Special

Counsel.

                                          RELIEF REQUESTED

        11.       At the direction of the Court, by this Motion, the PD Committee respectfully

requests that the Court enter an order authorizing the retention of Special Counsel to defend

objections to the ZAI Claimants’ proofs of claim, the compensation of such Special Counsel

pursuant to section 503 of the Bankruptcy Code, and granting such further and other relief as this

Court deems just and proper.

                    THE PD COMMITTEE IS UNABLE TO UNDERTAKE THE
                      REPRESENTATION OF INDIVIDUAL CLAIMANTS

         12.      The Court has ruled that only the ZAI Claimants, or any other claimants with ZAI

Claims that filed proofs of claim by May 30, 2002, would be entitled to participate in the ZAI

“science” trial. See May 20, 2002 Transcript, at 78-79, 83. Although the process that the Court

has set in place may well be illuminating on class certification, bar date and notice program

issues with respect to ZAI claims generally, the fact remains that the process only implicates, at

most, claims of a limited number of specific ZAI Claimants. Consequently, the PD Committee is

legally powerless to undertake representation of such a cause.

         13.      However, the Court gave the PD Committee an alternative -- select Special

Counsel to defend objections to the ZAI Claimants’ proofs of claim, subject to each Claimants’

right to engage his or her own counsel -- to serve as a “gatekeeper” of sorts to ensure that the

Court’s directive that there be a ZAI “science” trial is facilitated. To further facilitate the

“science trial,” the Court, recognizing the inherent unfairness of requiring some ten ZAI

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Claimants to “bear the brunt” of litigating the “science” trial, ordered, subject to the approval of

the Court of a budget, that the Debtors’ estates would be responsible for the costs of the trial for

the ZAI Claimants’ counsel. See Id., at 68.

         14.      The PD Committee is prepared to serve in the role of “gatekeeper,” expressly

without waiving the substantive rights of any particular property damage claimant. To that end,

the PD Committee has designated the law firms set forth below nominated by the ZAI Claimants

to serve as Special Counsel for the limited purposes described in this Motion.                 The PD

Committee will leave it to Special Counsel to designate who will be “Lead Counsel” among

them.

                             SPECIAL COUNSEL’S QUALIFICATIONS

         15.      Special Counsel specialize in the areas of product liability and consumer

protection litigation, with a particular expertise in toxic torts, including asbestos.      The lawyers

who will be principally responsible for the matters set forth herein have served as lead or co-lead

counsel in numerous Federal or State certified class actions. Special Counsel serve as counsel in

a certified Washington State class action, Barbanti v. W.R. Grace, and in the consolidated

Federal Multi-District Litigation (pending certification at the time of filing of the Debtors'

bankruptcy) related to ZAI, pending in the United States District Court for the District of

Massachusetts (In re Price, MDL 1376).             Special Counsel have been actively involved in

litigating claims related to ZAI for two years prior to the Debtors' bankruptcy.

                 SERVICES TO BE PROVIDED BY SPECIAL COUNSEL

         16.      The PD Committee anticipates that Special Counsel will provide services to the

ZAI Claimants as needed throughout the course of the “science” trial with respect to ZAI,

including:


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                  (a)        representation of the ZAI Claimants with respect to all aspects of the ZAI

                  “science trial" (including representation of the ZAI Claimants in any ensuing

                  appeals);

                  (b)        selection of experts and consultants; and

                  (c)        such other services as are necessary during the course of the ZAI

                  “science” trial.

                                SPECIAL COUNSEL’S COMPENSATION

         17.      Special Counsel has agreed to accept as compensation for its services in this case

such sums as may be allowed by this Court, based upon the services rendered, the results

achieved, the difficulties encountered, the complexities involved, and other appropriate factors.

         18.      Special Counsel has agreed to be compensated for its services on an hourly basis,

in accordance with its normal billing practices, subject to allowance by this Court in accordance

with the Court’s Administrative Fee Order governing compensation of professionals and

reimbursement of expenses, as amended (the “Fee Order”). The current hourly rates of Special

Counsel are as follows:

                             Firm                                        Charge Per Hour

   Lukins & Annis, PS
      - Darrell Scott                                                          $300
      - Burke Jacowich                                                         $130

   Lieff, Cabraser, Heimann & Bernstein, LLP
       - Elizabeth Cabraser                                                    $650
       - Thomas Sobol                                                          $550
       - Jeniene Matthews                                                      $300

   Richardson, Patrick, Westbrook, Brickman
      - Ed Westbrook                                                           $650

   Ness, Motley, Loadholt, Richardson & Pole
      - Robert Turkewitz                                                       $400

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    McGarvey, Heberling, Sullivan &
    McGarvey, P.C.
      - Allan McGarvey                                                             $200


         19.      In addition, also subject to allowance by this Court in accordance with the Fee

Order, Special Counsel shall bill the Debtors for reimbursement of all of its reasonable out-of-

pocket expenses incurred in connection with their employment for the purposes stated herein.

         20.      Special Counsel submits, for purposes of approval of their retention, that the

aggregate amount of fees and expenses that they expect to incur during the course of their

representation of the ZAI Claimants with respect to defending objections to their claims will not

exceed $4,229,000, as more particularly described on the budget attached hereto as Exhibit "B".

                             DISCLOSURE CONCERNING CONFLICTS

         21.      Upon information and belief, none of the firms comprising Special Counsel

represents or holds any interest adverse to the Debtors’ estates or their creditors in the matters

upon which such firms are to be engaged, except to the extent set forth in the annexed affidavit

of a member from each firm (the “Special Counsel Affidavits”).4 However, each firm is a multi-

lawyer firm with a national practice and may represent or may have represented certain of the

Debtors’ creditors or equity holders in matters unrelated to these Chapter 11 Cases.

                                                     NOTICE

         22.      Proper notice of this Application has been given and the PD Committee submits

that no further notice be given.




4
     Two Affiants of the Special Counsel law firms were unexpectedly unavailable to execute their respective
affidavits prior to filing of this Motion. As a result, these affidavits will be filed with the Court early next week.
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                             WAIVER OF MEMORANDUM OF LAW

         23.      As there are no novel issues of law presented herein, the PD Committee waives its

right to file a memorandum of law in support of the Application, pursuant to Rule 7.1.2(a) of the

Local Rules, incorporated by reference into the Local Bankruptcy Rules by General Order #9D.

                                 PRIOR REQUEST FOR RELIEF

         24.      No previous application for the relief sought in this Application has been made to

this or any other court.




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         WHEREFORE, the PD Committee respectfully requests that the Court enter an order,

substantially in the form attached hereto as Exhibit "B" pursuant to section 503 of the

Bankruptcy Code (a) authorizing the retention of Special Counsel pursuant to the terms outlined

in this Motion and (b) granting such further and other relief as this Court deems just and proper.

Dated: June 7, 2002


                                                 BILZIN SUMBERG DUNN BAENA
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                                                 By:/s/ Theodore J. Tacconelli
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                                                         Theodore J. Tacconelli
                                                         (Del. Bar No. 2678)

                                                 Counsel for the Official Committee of Asbestos
                                                 Property Damage Claimants




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